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Western Division
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UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20210-Ma

DARRYL ROSS
a/k/a DARYL ROSS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 24, 2005 at 3:45 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: June 22, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

lIt`nc)t held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft`icer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

 
 
 

AO 470 (B/BS) Order of Terr'porary Delenttor\

Th|s document entered on the docket
with Rule 55 andlor 32{b) FRCrP on

   

UNITED S`TTES DISTRICT OURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20210 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

E. Greg Gilluly

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FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

